          Case 2:12-cr-00095-RAJ         Document 49       Filed 05/08/12     Page 1 of 2




 1

 2

 3

 4

 5

 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                          NO. CR12-95-RAJ

10                               Plaintiff,

11          v.                                          DETENTION ORDER
12   ANDRE M. CONERLY,
13
                                 Defendant.
14

15   Offenses charged:
16          Count 1:                     Conspiracy to Unlawfully Deal in Firearms, in violation
17                                       of 18 U.S.C. § 371

18          Count 2:                     Unlawful Dealing in Firearms, in violation of 18 U.S.C. §
                                         922(a)(1)(A)
19
            Counts 3-5, 9, 11:           Felon in Possession of a Firearm, in violation of 18
20                                       U.S.C. § 922(g)(1)
21          Count 6:                     Unlawful Possession of an Unregistered Firearm, in
                                         violation of 26 U.S.C. §§ 5845(a)(1) and 5861(d)
22

23          Count 10:                    Unlawful Possession of a Firearm Silencer, in violation
                                         of 26 U.S.C. §§ 5845(a)(7) and 5861(d)
24
     Date of Detention Hearing: May 7, 2012
25

26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
           Case 2:12-cr-00095-RAJ          Document 49        Filed 05/08/12      Page 2 of 2




 1
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
 2
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
 3
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 4
            1.      Defendant has stipulated to detention due to detention in state court, but
 5
     reserves the right to contest his continued detention if there is a change in circumstances.
 6
            2.      There are no conditions or combination of conditions other than detention that
 7
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 8
     community.
 9
            IT IS THEREFORE ORDERED:
10
            (1)     Defendant shall be detained and shall be committed to the custody of the
11
                    Attorney General for confinement in a correction facility separate, to the extent
12
                    practicable, from persons awaiting or serving sentences or being held in custody
13
                    pending appeal;
14
            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
15
                    counsel;
16
            (3)     On order of a court of the United States or on request of an attorney for the
17
                    government, the person in charge of the corrections facility in which defendant
18
                    is confined shall deliver the defendant to a United States Marshal for the
19
                    purpose of an appearance in connection with a court proceeding; and
20
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
21
                    counsel for the defendant, to the United States Marshal, and to the United States
22
                    Pretrial Services Officer.
23
            DATED this 7th day of May 2012.
24

25                                                 A
                                                   JAMES P. DONOHUE
26
                                                   United States Magistrate Judge

     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
